   Case 2:08-md-01968 Document 2-3 Filed 08/19/08 Page 1 of 4 PageID #: 14




                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                          CHARLESTON DIVISION



IN RE: DIGITEK PRODUCTS LIABILITY LITIGATION


                                         CIVIL ACTION NO. 2:08-md-01968

THIS DOCUMENT RELATES TO ALL CASES



                                SCHEDULE B
                                       Case 2:08-md-01968 Document 2-3 Filed 08/19/08 Page 2 of 4 PageID #: 15
                                                                                                   Attorney Listing




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                                                                                                                                                                  Mylan Pharmaceuticals, Inc.;
                                                                                                                                                                  Actavis Totowa, LLC; Mylan
                                                                                                                                                                  Bertek Pharmaceuticals, Inc.;
                                                                                                                                                                  UDL Laboratories, Inc.(6:08‐cv‐
                                                  ALLEN GUTHRIE   P. O. Box 3394                                                                                  00899, 6:08‐cv‐00914, 6:08‐cv‐
                                                  MCHUGH &        Charleston , WV 25333‐                                                                          00971, 6:08‐cv‐00972, 6:08‐cv‐
Arnold             James          S.              THOMAS          3395                    304‐345‐7250           304‐345‐9941      jsarnold@agmtlaw.com           00973, 6:08‐cv‐00974)
                                                                  440 Louisiana Street
                                                  BAILEY PERRIN   Suite 2100
Bailey             K.             Camp            BAILEY          Houston, TX 77002‐4206 713‐425‐7100            713‐425‐7101      cbailey@bpblaw.com             Joe Supinski (6:08‐cv‐00899)
                                                                  106 West Seventh Street                                                                         Lonette Stanley (2:08‐cv‐
                                                                  P.O. Drawer H                                                                                   00998), Ruby I. Thrasher (2:08‐
Becnel             Daniel         E.        Jr.   BECNEL LAW FIRM Reserve, LA 70084       985‐536‐1186           985‐536‐6445      dbecnel@becnellaw.com          cv‐01007)
                                                                                                                                                                  Mylan Pharmaceuticals, Inc.;
                                                                                                                                                                  Actavis Totowa, LLC; Mylan
                                                                                                                                                                  Bertek Pharmaceuticals, Inc.;
                                                                                                                                                                  UDL Laboratories, Inc.(6:08‐cv‐
                                                  ALLEN GUTHRIE        P. O. Box 3394                                                                             00899, 6:08‐cv‐00914, 6:08‐cv‐
                                                  MCHUGH &             Charleston , WV 25333‐                                                                     00971, 6:08‐cv‐00972, 6:08‐cv‐
Betts              Rebecca        A.              THOMAS               3396                     304‐345‐7250     304‐345‐9941      rabetts@agmtlaw.com            00973, 6:08‐cv‐00974)
                                                                       701 Magazine Street                                                                        Lonette Stanley (2:08‐cv‐
                                                  LAMBERT &            New Orleans, LA 70130‐                                                                     00998), Ruby I. Thrasher (2:08‐
Bevis              E.             Alexis          NELSON               3629                     504‐581‐1750     504‐529‐2931      alexis@lambertandnelson.com    cv‐01007)
                                                                                                                                                                  Leona Linen & Reverend
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                                                                                                                                                                          Linen, J (6:08‐cv‐
                                                                                                                                                                                 Jr. (6 08
                                                                                                                                                                  00914); Iris Wineka (6:08‐cv‐
                                                                                                                                                                  00971); Osborne Marsh (6:08‐
                                                                                                                                                                  cv‐00972); Betty Wolford (6:08‐
                                                  WEXLER TORISEVA 1446 National Road                                                                              cv‐00973); Leo Seroke (6:08‐cv‐
Brown              Kathy          A.              WALLACE         Wheeling, WV 26003            304‐238‐0066     304‐238‐0149      kab@wtwlaw.com                 00974)
                                                  CLIMACO                                                                                                         Joseph J. Novak (2:08‐cv‐
                                                  LEFKOWITZ PECA Suite 1000                                                                                       00997), Lonette Stanley (2:08‐
                                                  WILCOX &        1220 Huron Road                                                                                 cv‐00998), James Heinzman
Chmielewski        Dawn           M.              GAROFOLI        Cleveland, OH 44115           216‐621‐8484     216‐771‐1632      dxchmi@climacolaw.com          (2:08‐cv‐01003)
                                                                  801 West 47th Street
                                                                  Suite 107
                                                  PETERSON &      Kansas City, MO 64112‐
Clevenger          Nicholas       S.              ASSOCIATES      1253                          816‐531‐4440     816‐531‐0660      nsc@petersonlawfirm.com        Bobby White (2:08‐cv‐00999)
                                                  CLIMACO                                                                                                         Joseph J. Novak (2:08‐cv‐
                                                  LEFKOWITZ PECA Suite 1950                                                                                       00997), Lonette Stanley (2:08‐
                                                  WILCOX &        55 Public Square                                                                                cv‐00998), James Heinzman
Climaco            John           R.              GAROFOLI        Cleveland, Oh 44113           216‐621‐8484     216‐771‐1632      jrclim@climacolaw.com          (2:08‐cv‐01003)
                                                                                                                                                                  Actavis Totowa LLC; Mylan,
                                                                                                                                                                  Inc.; Mylan Pharmaceuticals,
                                                                                                                                                                  Inc.; Mylan Bertek
                                                                                                                                                                  Pharmaceuticals, Inc.; UDL
                                                                       1150 Huntington Building                                                                   Laboratories, Inc. (2:08‐cv‐
                                                  TUCKER ELLIS &       925 Euclid Avenue                                                                          00997, 2:08‐cv‐00998, 2:08‐cv‐
Dean               Richard        A.              WEST                 Cleveland, OH 44115      216‐592‐5000     216‐592‐5009      richard.dean@tuckerellis.com   01003)




                                                                                                                                                                                                      HEDULE B
                                                  FRANKOVITCH
                                                  ANETAKIS
                                                  COLANTONIO &    337 Penco Road
Frankovitch        Carl           N.              SIMON           Weirton , WV 26062            304‐723‐4400     304‐723‐5892      carln@facslaw.com              Joe Supinski (6:08‐cv‐00899)
                                                                  4221 W Boy Scout Blvd ‐




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                                                                  Suite 1000
                                                  CARLTON FIELDS, P.O. Box 3239                                                                                   Actavis Totowa, LLC (2:08‐cv‐
Gerecke            Edward         W.              PA              Tampa , FL 33601‐3239         813‐223‐7000     813‐229‐4133      egerecke@carltonfields.com     01002)
                                       Case 2:08-md-01968 Document 2-3 Filed 08/19/08 Page 3 of 4 PageID #: 16
                                                                                                   Attorney Listing




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                                                  PETERSON &           Kansas City, MO 64112‐
Howard             Christine      C.              ASSOCIATES           1253                     816‐531‐4440     816‐531‐0660      cch@petersonlawfirm.com         Bobby White (2:08‐cv‐00999)
                                                                                                                                                                   Actavis Totowa, LLC; Mylan
                                                                                                                                                                   Pharmaceuticals, Inc.; Mylan
                                                  IRWIN FRITCHIE       Suite 2700                                                                                  Bertek Pharmaceuticals, Inc.;
                                                  URQUHART &           401 Poydras Street                                                                          UDL Laboratories, Inc. (2:08‐cv‐
Irwin              James          B.        V.    MOORE                New Orleans , LA 70130   504‐310‐2100     504‐310‐2101      jirwin@irwinllc.com             01007, 2:08‐cv‐01009)
                                                                       405 Western Reserve
                                                                       Bldg. 1468 West Ninth
                                                                       Street
Kalish             D.             Scott                                Cleveland, OH 44113      216‐502‐0570     216‐502‐0569      scottkalishcollc@cs.com      Joseph J. Novak (2:08‐cv‐00997)
                                                                                                                                                                Lonette Stanley (2:08‐cv‐
                                                                                                                                                                00998),
                                                  LAMBERT &            702 Magazine Street                                                                      Ruby I. Thrasher (2:08‐cv‐
Lambert            Hugh           P.              NELSON               New Orleans, LA 70130    504‐581‐1750     504‐529‐2931      hlambert@lambertandnelson.com01007)
                                                  LEVIN FISHBEIN       510 Walnut Street
                                                  SEDRAN &             Suite 500                                                                                   Kevin Clark (case number
Levin              Arnold                         BERMAN               Philadelphia, PA 19106   215‐592‐1500     215‐592‐4663      alevin@lfsblaw.com              unavailable)
                                                                       223 West Jackson
                                                                       Boulevard
                                                  MALKINSON &          Suite 1010                                                                                  Willie Mae Wilburn (case
Malkinson          John           R.              HALPERN PC           Chicago, IL 60606        312‐427‐9600     312‐427‐9629      mhpc@aol.com                    number unavailable)
                                                                       801 W
                                                                           Westt 47th Street
                                                                                      St t
                                                                       Suite 107
                                                  PETERSON &           Kansas City, MO 64112‐
Mathews            David          T.              ASSOCIATES           1253                     816‐531‐4440     816‐531‐0660      dtm@petersonlawfirm.com        Bobby White (2:08‐cv‐00999)
                                                                                                                                                                  Actavis Totowa, LLC; Mylan
                                                                                                                                                                  Pharmaceuticals, Inc.; Mylan
                                                  IRWIN FRITCHIE  Suite 2700                                                                                      Bertek Pharmaceuticals, Inc.;
                                                  URQUHART &      400 Poydras Street                                                                              UDL Laboratories, Inc. (2:08‐cv‐
Moore              Douglas        J.              MOORE           New Orleans, LA 70130   504‐310‐2100           504‐310‐2101      dmoore@irwinllc.com            01007, 2:08‐cv‐01009)
                                                                  106 West Seventh Street                                                                         Lonette Stanley (2:08‐cv‐
                                                                  P.O. Drawer H                                                                                   00998), Ruby I. Thrasher (2:08‐
Moreland           Matthew B.                     BECNEL LAW FIRM Reserve, LA 70084       985‐536‐1186           985‐536‐6445      mmoreland@becnellaw.com        cv‐01007)
                                                                                                                                                                  Actavis Totowa LLC; Mylan,
                                                                                                                                                                  Inc.; Mylan Pharmaceuticals,
                                                                       1150 Huntington Building                                                                   Inc.; Mylan Bertek
                                                                       925 Euclid Avenue                                                                          Pharmaceuticals, Inc.; UDL
                                                                       Cleveland , OH 44115                                                                       Laboratories, Inc. (2:08‐cv‐
                                                  TUCKER ELLIS &       Charleston, WV 25330‐                                                                      00997, 2:08‐cv‐00998, 2:08‐cv‐
Moriarty           Matthew P.                     WEST                 2833                     216‐592‐5000     216‐592‐5009      matthew.moriarty@tuckerellis.co01003)
                                                                                                                                                                  Lonette Stanley (2:08‐cv‐
                                                  LAMBERT &            702 Magazine Street                                                                        00998), Ruby I. Thrasher (2:08‐
Nelson             Linda          J.              NELSON               New Orleans , LA 70130   504‐581‐1750     504‐529‐2931      lnelson@lambertandnelson.com cv‐01007)
                                                                       111 Great Neck Road
                                                  PARKER &             Great Neck, NY 11021‐
Parker             Jerrold        S.              WAICHMAN             5042                     516‐466‐6500     516‐466‐6665                                      Lonette Stanley (2:08‐cv‐00998)




                                                                                                                                                                                                        HEDULE B
                                                  LAW OFFICES OF                                                                                                   Lonette Stanley (2:08‐cv‐
                                                  RONNIE G.            209 Hoppen Place                                                                            00998), Ruby I. Thrasher (2:08‐
Penton             Ronnie         Glynn           PENTON               Bogalusa, LA 70427       985‐732‐5651     965‐735‐5579      rgp@rgplaw.com                  cv‐01007)
                                                                       Park Plaza Building
                                                                       801 W. 47th Street




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                                                                       Suite 107
                                                  PETERSON &           Kansas City, MO 64112‐
Peterson           David          M.              ASSOCIATES           1253                     816‐531‐4440     816‐531‐0660      dmp@petersonlawfirm.com         Bobby White (2:08‐cv‐00999)
                                           Case 2:08-md-01968 Document 2-3 Filed 08/19/08 Page 4 of 4 PageID #: 17
                                                                                                       Attorney Listing




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                                                                           Suite 1950                                                                                Joseph J. Novak (2:08‐cv‐
                                                       LAW OFFICES OF      55 Public Square                                                                          00997), Lonette Stanley (2:08‐
Piscitelli            Frank           E.        Jr.    FRANK               Cleveland, OH 44113      216‐931‐7000     216‐931‐9925      frank@piscitellilaw.com       cv‐00998)
                                                                                                                                                                     Leona Linen & Reverend
                                                                           P. O. Box 1792                                                                            Eugene Linen, Jr. (6:08‐cv‐
Scott                 Carmen                           MOTLEY RICE         Mt. Pleasant, SC 29465   843‐216‐9000     843‐216‐9450      cscott@motleyrice.com         00914)
                                                       CLIMACO
                                                       LEFKOWITZ PECA      Ste. 1950                                                                                 Joseph J. Novak (2:08‐cv‐
                                                       WILCOX &            55 Public Square                                                                          00997), Lonette Stanley (2:08‐
Simpkins              Scott           D.               GAROFOLI            Cleveland, OH 44113      216‐621‐8484     216‐771‐1632      sdsimp@climacolaw.com         cv‐00998)
                                                                           1500 Oliver Building
                                                       KIRKPATRICK &       Pittsburgh, PA 15222‐
Smith                 Thomas          J.               LOCKHART            2312                     412‐355‐6500                       thomas.smith@klgates.com      Lonette Stanley (2:08‐cv‐00998)
                                                                                                                                                                     Mylan Pharmaceuticals, Inc.;
                                                                                                                                                                     Actavis Totowa, LLC; Mylan
                                                                                                                                                                     Bertek Pharmaceuticals, Inc.;
                                                                                                                                                                     UDL Laboratories, Inc.(6:08‐cv‐
                                                       ALLEN GUTHRIE       P. O. Box 3394                                                                            00899, 6:08‐cv‐00914, 6:08‐cv‐
                                                       MCHUGH &            Charleston , WV 25333‐                                                                    00971, 6:08‐cv‐00972, 6:08‐cv‐
Thomas                David           B.               THOMAS              3394                     304‐345‐7250     304‐345‐9941      dbthomas@agmtlaw.com          00973, 6:08‐cv‐00974)
                                                                                                                                                                     Leona Linen & Reverend
                                                                           P. O. Box 1792                                                                            Eugene Linen, Jr. (6:08‐cv‐
Thompson              Fred                      III.   MOTLEY RICE         Mt. Pleasant, SC 29466   843‐216‐9000     843‐216‐9450      fthompson@motleyrice.com      00914)
                                                                                                                                                                     Joe Supinski (6:08‐cv‐00899);
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                                                                                                                                                                     Eugene Linen, Jr. (6:08‐cv‐
                                                                                                                                                                     00914); Iris Wineka (6:08‐cv‐
                                                                                                                                                                     00971); Osborne Marsh (6:08‐
                                                                                                                                                                     cv‐00972); Betty Wolford (6:08‐
                                                       WEXLER TORISEVA 1446 National Road                                                                            cv‐00973); Leo Seroke (6:08‐cv‐
Toriseva              Teresa          C.               WALLACE         Wheeling, WV 26003           304‐238‐0066     304‐233‐0149      asb@wtwlaw.com                00974)
                                                                       12800 University Dr.
                                                                       Suite 600
                                                       MORGAN &        P.O. Box 9504                                                                                 Elwood Bull & Robert Blue
Weinstein             Scott           Wm.              MORGAN          Ft Myers, FL 33906           239‐433‐6880     239‐433‐6836      sweinstein@forthepeople.com   (2:08‐cv‐01002)




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                                                                                                                                                                     Actavis Totowa, LLC; Mylan
                                                                                                                                                                     Pharmaceuticals, Inc.; Mylan
                                                       IRWIN FRITCHIE  Suite 2700                                                                                    Bertek Pharmaceuticals, Inc.;
                                                       URQUHART &      400 Poydras Street                                                                            UDL Laboratories, Inc. (2:08‐cv‐
Williams              Kyrette         Orian            MOORE           New Orleans, LA 70130    504‐310‐2100         504‐310‐2101      owilliams@irwinllc.com        01007, 2:08‐cv‐01009)
                                                                       Suite B                                                                                       Robert M. Becnel, Susan B.
                                                                       425 West Airline Highway                                                                      Williams, Edna V. Becnel (2:08‐
Zink                  Diane           K.               BECNEL LAW FIRM LaPlace, LA 70068        985‐651‐6101         985‐651‐6104      zinbec@aol.com                cv‐01009)
